                THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


__________________________________________
                                           )
TRUE HOMES, LLC,                    )
                                    )
          Plaintiff,                )
                                    )
     vs.                            )          Civil Action No. 3:18-cv-345
                                    )
CMH MANUFACTURING, INC. and )
CMH SERVICES, INC.,                 )
                                    )
          Defendants.               )
____________________________________)



                                COMPLAINT

     Plaintiff True Homes, LLC (“True Homes”), a Delaware limited

liability company, by its undersigned attorneys, files this Complaint

against Defendants CMH Manufacturing, Inc. and CMH Services, Inc.

(collectively “CMH”) both Tennessee corporations, and alleges as

follows:




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                            Nature of Action

      1. Since at least January 2008, Plaintiff True Homes has

constructed and sold residential homes in connection with the mark

TRUE HOMES®.

      2. In 2012, True Homes filed for registration of its longstanding

TRUE HOMES® mark with the United States Patent and Trademark

Office, and was granted registration of its mark on May 31, 2016.

      3. CMH constructs modular/mobile homes. Shortly after a series

of in-depth business discussions between True Homes and CMH in

2016, CMH, without authorization from True Homes, began marketing

and selling modular/mobile homes under the name TRU HOMES.

      4. This is an action for trademark infringement, unfair

competition, and unfair business practices under the Trademark Act of

1946, 15 U.S.C. §§ 1051 et seq. (2009) (“Lanham Act”), and unfair and

deceptive trade practices under North Carolina General Statutes

§75-1.1 et seq.




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                                 Parties

     5. Plaintiff True Homes is a limited liability company organized

and existing under the laws of the State of Delaware, with its principal

place of business at 2649 Brekonridge Centre Dr. Monroe, NC 28110.

     6. Upon information and belief, Defendants CMH Manufacturing

and CMH Services are corporations organized and existing under the

laws of the State of Tennessee, with principal places of business at 5000

Clayton Rd. Maryville, TN 37804.



                       Jurisdiction and Venue

     7. This Court has subject matter jurisdiction over the Lanham

Act claims under 15 U.S.C. § 1121, and 28 U.S.C. §§ 1331 and 1338(a),

and over the related state- and common-law claims under 28 U.S.C. §§

1338 and 1367.

     8. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

     9. This Court has personal jurisdiction over CMH, and venue is

proper because, among other things and upon information and belief,

(a) CMH has marketed, offered for sale, and sold homes under the TRU



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HOMES name within the State of North Carolina; (b) CMH regularly

conducts business within the State of North Carolina; and (c) CMH has

otherwise made regular and established contacts within the State of

North Carolina.



                         General Allegations

                  True Homes’ Protected Trademark

     10. True Homes has continuously constructed and sold residential

homes under the trademark TRUE HOMES® from its inception in 2008

to the present.

     11. True Homes has grown into one of the nation’s largest

homebuilders, and has earned a reputation for building high-quality

homes.

     12. On July 31, 2013, True Homes filed for federal registration of

its TRUE HOMES® trademark with the United States Patent and

Trademark Office. On May 31, 2016 the Trademark Office granted

True Homes a trademark registration for the TRUE HOMES® mark—

U.S. Registration No. 4,967,069—in connection with residential




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building construction. A copy of the TRUE HOMES® certificate of

registration is attached hereto as Exhibit A.

     13. Since its inception, True Homes has spent millions of dollars

promoting the TRUE HOMES® trademark.

     14. As a result of True Homes’ extensive and continuous use and

promotion of the TRUE HOMES® trademark, True Homes has built up,

and now owns, extremely valuable goodwill that is symbolized by and

concomitant with the TRUE HOMES® trademark.

     15. The purchasing public has come to favorably associate the

TRUE HOMES® trademark as an indicator of source for True Homes’

quality residential homes.



      CMH’s Subsequent Use of a Virtually Identical Name

     16. Upon information and belief, CMH is engaged in the

manufacture and sale of modular/manufactured single-family

residential homes.

     17. Through late summer and fall of 2016, representatives from

True Homes and CMH engaged in exploratory business discussions

regarding True Homes, its holdings, finances and operations.



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     18. In furtherance of those discussions, True Homes and CMH

Parks, Inc., an affiliate of CMH, executed a non-disclosure agreement

effective August 22, 2016.

     19. The discussions did not result in any agreement between the

parties, and concluded in early September 2016.

     20. Nonetheless, CMH acquired confidential and proprietary

knowledge of True Homes, its operations and the value of the TRUE

HOMES® trademark at least as early as July 2016.

     21. Less than two weeks after concluding the unsuccessful

discussions with True Homes, and in blatant disregard for True Homes’

rights, CMH applied to register the name TRU HOMES.

     22. Indeed, email communications between the principals of True

Homes and CMH occurred just two days prior to CMH’s application for

registration of name TRU HOMES. Registration of the name TRU

HOMES was granted for use with manufactured and modular non-

metal homes on October 3, 2017.

     23. Shortly after filing its application, in November 2016, CMH

registered the domain name www.owntruhomes.com.




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     24. Upon information and belief, CMH began designing,

manufacturing, marketing, promoting, offering for sale, and selling

modular/manufactured homes under the name TRU HOMES in

December 2017.

     25. In marketing and branding the name TRU HOMES (see

Exhibit B), CMH has closely mimicked True Homes’ marketing and

branding of its TRUE HOMES® trademark (see Exhibit C).

     26. Upon information and belief, CMH continues to design,

manufacture, market, promote, offer for sale, and sell modular/

manufactured homes under the name TRU HOMES.

     27. Upon information and belief, CMH knowingly, willfully,

intentionally, and maliciously adopted and uses the name TRU HOMES

as a confusingly similar mark to Plaintiff’s TRUE HOMES® trademark.



                            Count One
                 Federal Trademark Infringement

     28. The allegations contained in the preceding paragraphs are

realleged and incorporated herein by reference.

     29. CMH’s use of the name TRU HOMES is likely to cause

confusion with Plaintiff’s TRUE HOMES® trademark, and is likely to


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create the false and misleading impression that CMH’s goods under the

name TRU HOMES are manufactured or distributed by Plaintiff True

Homes.

     30. CMH’s use of the name TRU HOMES is confusingly similar to

Plaintiff’s federally registered mark—TRUE HOMES®—in violation of

15 U.S.C. § 1114.

     31. CMH’s activities are, and unless enjoined by the Court, will

continue to, cause a likelihood of confusion, deceive the public, and

injure True Homes’ goodwill and value associated with its TRUE

HOMES® trademark, for which True Homes has no adequate remedy

at law.

     32. By reason of the foregoing, True Homes is entitled to

injunctive relief and to recover CMH’s profits, actual damages,

enhanced profits and damages, costs and reasonable attorneys’ fees

under 15 U.S.C. §§ 1114, 1116, and 1117.




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                            Count Two
                    Federal Unfair Competition

     33. The allegations contained in the preceding paragraphs are

realleged and incorporated herein by reference.

     34. CMH’s use of the name TRU HOMES directly caused and is

likely to continue to cause confusion, deception, and mistake in the

homebuilding marketplace by creating the false impression that CMH’s

manufactured/modular homes are constructed by True Homes or that

True Homes’ homes are constructed by CMH, or that True Homes and

CMH are affiliated or related.

     35. CMH’s activities have caused and, unless enjoined by this

Court, will continue to cause, substantial harm to True Homes,

confusion and deception in the marketplace, and injury to the goodwill

and reputation True Homes has built in its TRUE HOMES®

trademark, for which it has no adequate remedy at law.

     36. CMH’s infringing activities are an intentional, willful, and

malicious effort to trade on the goodwill and reputation of True Homes’

TRUE HOMES® trademark.

     37. True Homes is entitled to injunctive relief and to recover

CMH’s profits, actual damages, enhanced profits and damages, costs


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and reasonable attorneys’ fees under 15 U.S.C. §§ 1125(a), 1116, and

1117.



                             Count Three
                 Unfair and Deceptive Trade Practices

        38. The allegations contained in the preceding paragraphs are

realleged and incorporated herein by reference.

        39, CMH’s activities in registering and using a name practically

identical to True Homes registered TRUE HOMES® trademark

constitutes unfair and deceptive trade practices pursuant to North

Carolina General Statutes §§ 75-1.1 et. seq.



                               Count Four
                            Unfair Competition

        40. The allegations contained in the preceding paragraphs are

realleged and incorporated herein by reference.

        41. CMH’s activities constitute unfair competition under common

law, and have created a likelihood of confusion in the marketplace for

which True Homes has suffered irreparable injury with no adequate

remedy at law.



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     42. Upon information and belief, CMH acted with full and direct

knowledge of True Homes’ rights in the TRUE HOMES® trademark,

and in blatant, willful, and intentional disregard for True Homes’

rights. CMH intentionally sought to trade on True Homes’ goodwill

associated with its TRUE HOMES® trademark through the use of the

almost identical name TRU HOMES.

     43. As a result, True Homes has been damaged in an amount not

yet ascertained and is entitled to injunctive relief, to an accounting of

CMH’s profits, damages, and costs. Further, as a result of CMH’s

intentional and malicious use of the confusingly similar name TRU

HOMES, and to discourage similar activity by CMH in the future, True

Homes is entitled to punitive damages.



                             Count Five
           Cancellation of the TRU HOMES Registration

     44. The allegations contained in the preceding paragraphs are

realleged and incorporated herein by reference.

     45. Defendant CMH claims ownership of U.S. Registration No.

5303180 for the name TRU HOMES.




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U.S. Registration No. 5303180 should be cancelled in accordance with

15 U.S.C. §1119 for the reasons stated herein.



                           Prayer for Relief

WHEREFORE, Plaintiff True Homes, LLC requests that:

      1. CMH, their officers, agents, servants, resellers, employees and

all persons in concert or participation with CMH in connection with the

manufacture, sale, marketing or distribution of the name TRU HOMES

be preliminarily and permanently enjoined from:

           a. Advertising, marketing, promoting, offering for sale,

distributing, or selling any product or service bearing the name TRU

HOMES or any similar name;

           b. Otherwise infringing True Homes’ TRUE HOMES®

trademark, or otherwise using the name TRU HOMES in connection

with any of CMH’s goods and services;

           c. Using any trademark, name, logo, design or source

designation of any kind on or in connection with CMH’s goods and

services that is confusingly similar to the TRUE HOMES® trademark;

and



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           d. Diluting the distinctive quality of the TRUE HOMES®

trademark.

     2. CMH be ordered to cease offering for sale, marketing, and

selling any goods and services under the name TRU HOMES, and to

recall all materials, goods and services bearing the name TRU HOMES

or any confusingly similar version thereof in CMH’s possession or that

have been shipped under CMH’s authority to any other entity, and to

deliver to each such entity a copy of this Court’s order as it relates to

said injunctive relief against CMH;

     3. CMH be ordered to deliver up for impoundment and

destruction all products, packaging, labels, signs, wrapping,

advertising, marketing, sample books, sheathing, and any other

materials in the possession, custody or control of CMH that infringe on

the TRUE HOMES® trademark or that otherwise unfairly compete

with True Homes and its products and services;

     4. CMH be ordered to account for and pay as damages to True

Homes all profits and advantages derived by CMH from their unfair

trade practices, unfair competition, and infringement of the TRUE

HOMES® trademark;



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      5. CMH be ordered to pay treble damages in accordance with

North Carolina General Statute § 75-16.

      6. Based on CMH’s knowing and intentional use of a confusingly

similar imitation of the TRUE HOMES® trademark, the damage

awarded be trebled and the award of CMH’s profits derived therefrom

be enhanced as provided by 15 U.S.C. § 1117(a).

      7. CMH be ordered to pay True Homes’ attorney’s fees in

accordance with North Carolina General Statute § 75-16.1.

      9. CMH be ordered to pay True Homes interest, costs, and

reasonable attorneys’ fees, as well as prejudgment and post-judgment

interest on all monetary awards; and

      10. True Homes be awarded any other just relief as the Court may

deem just.



                            Jury Trial Demand

      Plaintiff True Homes requests trial by jury on all matters so

triable.

This 29th day of June, 2018.

                                     Respectfully submitted,



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